       Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 1 of 23




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


DEFENSE DISTRIBUTED and                      §        Case No. 1:18-cv-637-RP
SECOND AMENDMENT FOUNDATION, §
INC.,                                        §
                                             §
                       Plaintiffs,           §
                                             §
                       v.                    §
                                             §         Plaintiffs’ Response to the
UNITED STATES DEPARTMENT                     §   State Department’s Motion to Dismiss
OF STATE, MICHAEL R. POMPEO, in              §
his official capacity as Secretary of State; §
DIRECTORATE OF DEFENSE TRADE                 §
CONTROLS; MIKE MILLER, in his                §
official capacity as Acting Deputy Assistant §
Secretary of Defense Trade Controls;         §
SARAH HEIDEMA, in her official capacity §
as Director of Policy, Office of Defense     §
Trade Controls Policy,                       §
                                             §
and                                          §
                                             §
GURBIR GREWAL, Attorney General of           §
the State of New Jersey                      §
                                             §
                        Defendants.          §
             Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 2 of 23




                                                     TABLE OF CONTENTS

Table of Contents ............................................................................................................................. i

Argument .........................................................................................................................................1

I.         The APA and constitutional claims are not moot. ...............................................................1

           A.         The State Department failed to satisfy the voluntary cessation test. .......................1

           B.         The State Department’s ITAR regime still applies to Plaintiffs’ speech. ................5

           C.         The State Department still controls licensing of the speech at issue. ......................8

II.        Res judicata does not bar any claims. ................................................................................11

           A.         Res judicata assertions never belong in Rule 12 motions. .....................................11

           B.         The prior case did not render a final judgment on the merits. ...............................11

           C.         The requisite claim identity is missing. .................................................................13

III.       The Settlement Agreement did not release later-arising claims about failing to
           comply with the Settlement Agreement. ............................................................................16

IV.        No claims belong at the Court of Federal Claims. .............................................................18

           A.         The Tucker Act does not apply. .............................................................................18

           B.         The State Department waived and/or is estopped from asserting the
                      Tucker Act and sovereign immunity......................................................................19

Conclusion .....................................................................................................................................20




                                                                   i
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 3 of 23




                                           ARGUMENT

       The State Department’s motion seeks dismissal by asserting lack of subject-matter

jurisdiction, Fed. R. Civ. P. 12(b)(1), and failure to state a claim upon which relief can be granted,

Fed. R. Civ. P. 12(b)(6). The motion should be denied in both respects. Subject-matter jurisdiction

exists and relief can be granted on all the complaint’s claims.1

I.     The APA and constitutional claims are not moot.

       The State Department begins with a limited mootness argument. Knowing that there is no

mootness problem as to the APA claims for retrospective relief, see Dkt. 117 ¶¶ 184-215, 330-

337, the constitutional claims for retrospective relief, see id. ¶¶ 225-254, 330-337, and the breach

of contract claims, see id. ¶¶ 216-224, 330-337, the State Department argues only that the APA

and constitutional claims for prospective relief are moot. Dkt. 162 at 1, 9-14. It says that mootness

has occurred because the “State no longer regulates 3D gun files” and “Plaintiffs cannot seek relief

from a regulation that no longer applies to them or against an agency that no longer regulates their

conduct.” Dkt. 162 at 1, 9-14. The mootness argument fails for several independent reasons.

       A.      The State Department failed to satisfy the voluntary cessation test.

       First, the motion’s mootness argument should be rejected because of a key doctrinal failure.

The real question presented is not the simple mootness inquiry the State Department presents. The

real question presented is of voluntary cessation—a distinct aspect of mootness doctrine with a

demanding test that the State Department bears the burden of satisfying and has failed to meet.




1
 The motion seeks Rule 12 relief by asserting the affirmative defenses of res judicata and release.
That is appropriate only if parties consent to converting this motion to dismiss to a motion for
summary judgment, see, e.g., Test Masters Educ. Services, Inc. v. Singh, 428 F.3d 559, 570 n.2
(5th Cir. 2005), and Plaintiffs object to any such conversion. See infra Parts II.A & III.



                                              1
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 4 of 23




       Well-established precedent distinguishes mootness in general from voluntary cessation.

“A case becomes moot—and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article

III—'when the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest

in the outcome.’” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Murphy v. Hunt,

455 U.S. 478, 481 (1982) (per curiam) (some internal quotation marks omitted))). But “a

defendant cannot automatically moot a case simply by ending its unlawful conduct once sued.”

Id. “Otherwise, a defendant could engage in unlawful conduct, stop when sued to have the case

declared moot, then pick up where he left off, repeating this cycle until he achieves all his unlawful

ends.” Id. Hence, “‘a defendant claiming that its voluntary compliance moots a case bears the

formidable burden of showing that it is absolutely clear the allegedly wrongful behavior could not

reasonably be expected to recur.’”        Id. (quoting Friends of the Earth, Inc. v. Laidlaw

Environmental Services (TOC), Inc., 528 U.S. 167, 190 (2000)).

       Under this framework, the Plaintiffs bear no burden of defeating voluntary cessation. Their

burden was to establish standing at the case’s outset, id., which they did by showing Article III

standing for every claim at issue when the live complaint was filed in November 2020. In

particular, standing existed (the case was not moot) at inception because the supposedly-mooting

regulatory changes did not take effect until after the complaint was filed. The complaint alleges

this, Dkt. 117 ¶ 130, and the State Department concedes it, Dkt. 162 at 5-7.

       Thus, since the supposedly-mooting events happened after the case had undoubtedly been

initiated with standing, the applicable doctrine becomes voluntary cessation and the State

Department bears the “formidable burden” of making it “absolutely clear” that the wrongdoing at

issue “could not reasonably be expected” to resume. Already, LLC, 568 U.S. at 92-95. The State

Department has failed to carry its voluntary-cessation burden for a litany of reasons.




                                              2
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 5 of 23




       First, the Court should reject voluntary cessation’s application to this case because the State

Department did not make the argument. Unlike the standing in the first instance (not at issue here),

mootness due to supposed voluntary cessation is not a jurisdictional issue requiring sua sponte

attention. See City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283, 289 (1982) (“voluntary

cessation . . . is a matter relating to the exercise rather than the existence of judicial power”).

Courts should address voluntary cessation only if the opponent properly raises the issue, and the

State Department did not do so. The Court should reject the doctrine for that reason alone.

       Second, the Court should reject voluntary cessation’s application to this case because the

State Department has failed to carry the “heavy burden” of making it “absolutely clear” that the

federal government will not soon undo or alter the 2020 regulatory changes. A real evidentiary

showing is needed, see Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2019

n.1 (2017),2 and the State Department has made none at all.

       Third, the Court should reject voluntary cessation’s application to this case because the

State Department has never supplied the “controlling statement of future intention” that precedent

requires. See Speech First, Inc. v. Fenves, 979 F.3d 319, 328 (5th Cir. 2020). A government brief

representing that it “as no plans to and will not, reenact the former policies” is not enough. Id.

“Sworn testimony” could suffice, id., but there is none here. To the contrary, credible indications

show that federal efforts to undo the 2020 regulatory changes are underway at this very moment.

Over sixty Senators and Congressmen are already expressly urging the President to undo the 2020




2
   This Court has never given public officials a blanket presumption of voluntary cessation,
especially not in the extraordinary circumstances posed here. See Speech First, Inc. v. Fenves, 979
F.3d 319, 328 (5th Cir. 2020). And recent Supreme Court precedent indicates that no such special
solicitude is appropriate. See Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct.
2012, 2019 n.1 (2017). Just like all other litigants, governments bear the “heavy burden” of making
cessation “absolutely clear” without the help of any thumb on the scale. See id.

                                             3
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 6 of 23




regulatory changes that supposedly cause mootness. Senator Markey said so to President Biden

in no uncertain terms:

       A recent decision by the United States Court of Appeals for the Ninth Circuit
       threatens to allow the immediate online distribution of blueprints for three-
       dimensional (“3-D”) printable firearms. Downloadable gun technology is
       profoundly dangerous, allowing anyone to build untraceable firearms on demand.
       We urge your Administration to promptly take administrative action that will keep
       in place strict regulatory controls over these weapons — and the technical data for
       their manufacture — and prevent their proliferation. . . .

       We therefore urge your Administration, through further proceedings under the
       Administrative Procedure Act, to undo the Trump rulemakings. It is entirely within
       the power and authority of your Administration to transfer regulatory control over
       3-D printed firearms and their technical data back to the State Department, return
       them to the Munitions List, and once again control them under ITAR — a
       regulatory scheme that makes sense. And your Administration can take these steps
       without the need for legislation or congressional approval. 3

       Fourth, the Court should reject voluntary cessation’s application to this case because of

“suspicious timing.” See Speech First, Inc., 979 F.3d at 328. Rather than employ regular

procedures, the State Department’s efforts to enact and defend the regulations at issue have been

incomplete and unjustifiably delayed in ways that seriously prejudiced the Plaintiffs. Dkt. 117 ¶

107 (“Defense Distributed and SAF demanded that the State Department appeal [the first

Washington case]. . . . Even though the State Department had a right to appeal the final judgment,

and even though it had preserved arguments that would have succeeded in having the district

court’s judgment vacated or reversed, the State Department refused to appeal. It let the deadline

for that appeal come and go without taking any appellate action. The State Department refused to




3
 Letter of Senator Edward J. Markey et al., to President Joseph R. Biden (May 5, 2021), available
at https://bit.ly/3ASAfbD. Judicial notice of letters between federal lawmakers is entirely proper
and should be taken here. See Fed. R. Evid. 201; Am. Council of the Blind v. Mnuchin, 878 F.3d
360, 366 n.8 (D.C. Cir. 2017).



                                            4
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 7 of 23




appeal this final injunction because of partisan politics and in spite of federal legal advisors that

deemed an appeal legally necessary.”).

        Fifth, the Court should reject voluntary cessation’s application to this case because of the

State Department’s “continued defense of the challenged policies.” See Speech First, Inc., 979

F.3d at 328. Just as in Speech First, voluntary cessation does not apply here because the State

Department “is still defending the legality of its original policies.” Id.

        For all of these reasons, the Court should hold that the State Department bears the burden

of establishing voluntary cessation and has failed to do so, in which case the mootness argument

can be rejected without more. Alternatively, if the Court ignores the voluntary cessation test and

takes the mootness argument on its own terms, it still fails for multiple reasons.

        B.      The State Department’s ITAR regime still applies to Plaintiffs’ speech.

        The motion’s keystone premise is that the 2020 rule changes4 transferred all regulatory

jurisdiction over all of the speech at issue to the Commerce Department. See Dkt. 162 at 1. But

that is plainly wrong. Regulatory jurisdiction over much of the speech at issue—speech that gives

rise to the APA and constitutional claims for prospective relief—was not transferred to the

Commerce Department’s EAR regime. The scope of computer files still subject to the State

Department’s ITAR regime is very substantial and the State Department’s continued prior restraint

on Plaintiffs’ constitutional right to publish these files is still very much in controversy.

        Both the Commerce Department’s and State Department’s 2020 final rules establish this.

The Commerce Department’s final rule explains that it did not take over regulatory jurisdiction for

“defense articles5 . . . that are either (i) inherently military and otherwise warrant control on the


4
  See generally 85 Fed. Reg. 3819 (Jan. 23, 2020) (hereinafter “Final State Department Rule”); 85
Fed. Reg. 4136 (Jan. 23, 2020) (hereinafter “Final Commerce Department Rule”).
5
  See Dkt. 162 at 2 (“The USML includes both physical articles and ‘technical data . . . directly related’
to those articles.”).


                                                5
           Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 8 of 23




USML or (ii) if of a type common to nonmilitary firearms applications, possess parameters or

characteristics that provide a critical military or intelligence advantage to the United States.” Final

Commerce Department Rule, 85 Fed. Reg. at 4137. “If a defense article satisfies one or both of

those criteria, it remained on the USML,” id., and under the State Department’s regulatory

authority. See id. at 4138 (“The firearms that warrant ITAR control will continue to be subject to

the AECA and its requirements as applicable.”). The State Department’s final rule accords,

explaining the wide swath of retained regulatory jurisdiction over many articles in Category I:

               With respect to revisions of Categories I–III, the review was focused on
       identifying the defense articles that are now controlled on the USML that are either
       (i) inherently military and otherwise warrant control on the USML or (ii) if of a
       type common to non-military firearms applications, possess parameters or
       characteristics that provide a critical military or intelligence advantage to the United
       States. If a defense article satisfies one or both of those criteria, it remained on the
       USML.

Final State Department Rule at 3820 (emphasis added).

       In particular, 3D files for fully automatic firearms, silencers, and certain other articles were

not transferred to the Commerce Department and remain subject to State Department regulation.

ITAR USML Category I(i) continues to control technical data on firearms, to include 3D files, for

the following items presently described on the USML relevant to the present action:

       •    “Fully automatic firearms to .50 caliber (12.7 mm) inclusive” described at USML Cat.

            I(b);

       •    “Firearms specially designed to integrate fire control, automatic tracking, or automatic

            firing” described at USML Cat. I(c);

       •    “Silencers, mufflers, and sound suppressors” described at USML Category I(d);

       •    “Barrels, receivers (frames), bolts, bolt carriers, slides, or sears specially designed for

            the articles in [USML Category I paragraphs (b) and (d)]” described at USML Category



                                              6
           Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 9 of 23




            I(g);

       •    Drum and other magazines for firearms to .50 caliber (12.7 mm) inclusive with a

            capacity greater than 50 rounds” described at USML Category I(h);

       •    Parts and components specially designed for conversion of a semi-automatic firearm to

            a fully automatic firearm” described at USML Category I(h);

       •    “Parts and components specially designed for defense articles described in paragraphs

            (c) and (e) of [USML Category I]” described at Category I(h); and

       •    “Accessories or attachments specially designed to automatically stabilize aim (other

            than gun rests) or for automatic targeting, and specially designed parts and components

            therefor” described at Category I(h).

See 22 C.F.R. § 121.1.

       Computer files for fully automatic firearm parts (as presently described under USML

Category I) were part of Plaintiffs’ action against the State Department from the very beginning,

when Defense Distributed requested government permission to publish a CAD file for a fully

automatic AR-15 receiver in 2014. See Dkt. 177 ¶¶ 42-69 (describing the files that Defense

Distributed has published in the past and/or plans to publish in the immediate future, including

parts of an automatic “VZ-58” rifle; Dkt. 148-1 at 2 (proof of same); Dkt. 148-2 (proof of same);

Dkt. 148-6 (proof of same).6 Despite the brief’s categorial denials, the actual rules at issue

conclusively establish that the State Department continues to control files giving rise to Plaintiffs’

APA and constitutional claims. See, e.g., Final Commerce Department Rule at 4137 (“squad


6
  In addition, the files published by Defense Distributed in April 2021—the very same files that
prompted Justice Department attorneys to threaten the Plaintiffs—included sixteen files for
suppressors or suppressor components; five auto-sear tool/design files; and seventy-four files for
automatic firearm receivers or assemblies. These 3D files are presently described under USML
Category I(e).

                                              7
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 10 of 23




automatic weapons do not generally have such non-military uses and will remain controlled on the

USML”); id. (“A fully automatic weapon is subject to the ITAR.”).

       C.      The State Department still controls licensing of the speech at issue.

       The State Department does not just err in its understanding of what speech the 2020

regulatory changes moved out of the State Department’s domain. It also has an errant view of

what the State Department can still do to speech that did generally move under the EAR regime.

This too is an error substantial enough on its own to defeat the mootness argument.

       The motion says that, with respect to speech now covered by the EAR regime, the State

Department has no more regulatory power whatsoever. But the Commerce Department’s authority

over such speech is not exclusive. It is overlapping. Regulatory power over this speech resides

with both the Commerce Department and the State Department. For these computer files, the State

Department retains substantial control over licensing issues that are central to the complaint.

       One relevant kind of continuing State Department power concerns the process of obtaining

an EAR license. The 2020 rule changes do not exclude the State Department from this process.

To the contrary, the rules make the State Department intimately involved in the decision of whether

to issue EAR licenses. As the Department of Commerce itself explains, applications for EAR

licenses entail “an interagency review process that includes review by the Departments of State,

Defense, and Energy.” Final Commerce Department Rule, 85 Fed. Reg. at 41378 (emphasis

added). In this way, the State Department continues to exercise power over which licenses “will

be approved.” Id.7



7
  Regarding license reviews, Executive Order 12981 of December 5, 1995 authorizes the
Department of State to review any export license application submitted to the Department of
Commerce. See 22 C.F.R. 750.3(b)(1) (noting State Department authority “to review any license
application submitted under the EAR.”); 85 Fed. Reg. 3819, 3821 (January 23, 2020) (“The
Department will continue to advance its foreign policy mission by reviewing all license

                                             8
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 11 of 23




       Another relevant kind of continuing State Department power concerns the role that ITAR

licenses play vis-à-vis the EAR. Even as to speech that the 2020 regulatory changes generally

moved to the Commerce Department’s EAR regime, the State Department still retains a critical

licensing power by virtue of the 22 C.F.R. § 120.5(b) provision about grandfathering existing

licenses: “A license or other approval (see § 120.20) from the Department of State granted in

accordance with this subchapter may also authorize the export of items subject to the EAR.” 22

C.F.R. § 120.5(b) (emphasis added). Because of this provision, speech that is now subject to the

EAR may be published not just pursuant to an EAR license, but also pursuant an ITAR license. 8

Consistent with this authority and related authority under the Arms Export Control Act,9 the State


applications submitted to the Department of Commerce for the export of firearms and related
technology.”); 85 Fed. Reg. 4136, 4142 (January 23, 2020) (“all requests for export licenses for
firearms remain subject to interagency review, including by the Department of State.”). Executive
Order 12981 further provides the State Department with the power to escalate agency
disagreements in the license review process.
8
  Section 5(a) of Executive Order 13222 of August 17, 2001, as amended by Executive Order
13637 of March 8, 2013, authorizes the State Department, with Commerce Department consent,
to issue licenses for the export of items subject to Commerce Department control: “The Secretary
of State is hereby authorized to take such actions and to employ those powers granted to the
President by the Act as may be necessary to license or otherwise approve the export, reexport, or
transfer of items subject to the jurisdiction of the Department of Commerce as agreed to by the
Secretary of State and the Secretary of Commerce.” Executive Order 13637 of March 8, 2013,
Sec. 5.

A State Department guidance supports this conclusion: “Licenses for items transitioning to the
CCL that are issued prior to the effective date of the final rule for each revised USML category,
and that do not include any items that will remain on the USML, will remain valid until expired,
returned by the license holder, or for a period of three years from the effective date of the final
rule, whichever occurs first, unless otherwise revoked, suspended, or terminated. State
Department Transition Guidance for Revisions to Categories I, II, and III (Jan. 23, 2020) (noting
grandfathering of existing State Department licenses for items transitioned to the Commerce
Department), available at https://tinyurl.com/ydgv4mrf.
9
  See 22 U.S.C. § 2778(k) (“A license or other approval from the Department of State granted in
accordance with this section may also authorize the export of items subject to the Export
Administration Regulations if such items are to be used in or with defense articles controlled on
the United States Munitions List.”).

                                             9
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 12 of 23




Department has already begun issuing licenses for the export of Commerce Department EAR-

controlled items that are exported with ITAR-controlled items.10

       In this case, both of the State Department’s remaining powers over licenses are material.

For as the complaint makes clear, the case’s APA and constitutional claims are not merely about

changing the State Department’s regulations; the APA and constitutional claims are also about the

State Department’s failure to issue a license for Plaintiffs’ speech, as required by the Settlement

Agreement, APA, and Constitution.11       The State Department is both illegally negating the

Plaintiffs’ existing ITAR license and illegally refusing to issue the Plaintiffs an additional ITAR




10
   22 C.F.R. § 120.5(b) (“A license or other approval (see § 120.20) from the Department of State
granted in accordance with this subchapter may also authorize the export of items subject to the
EAR… that is for use in or with a defense article and is included in the same shipment as any
defense article.”); 78 Fed. Reg. 22740, 22749 (April 16, 2013) (“The President has provided for
this delegation of authority from the Secretary of Commerce to the Secretary of State, and
Executive Order 13222 has been amended accordingly (see 78 FR 16129). The Department has
revised various sections of, and added certain sections to, the ITAR to accommodate this
delegation of authority: ITAR § 120.5 to add a new paragraph (b) to address the delegation… .”).
11
   Both sides agree that the Plaintiffs’ APA and constitutional claims clearly put the State
Department’s regulatory conduct at issue. The complaint pleads that the State Department’s
handling of regulations violates both the APA, Dkt. 117 ¶¶ 188, 189, 190, 191, 196, 197, 198, 199,
204, 205, 206, 207, 212, 213, 214, 215, and the Constitution, Dkt. 117 ¶¶ 220, 221, 222, 223, 233,
234, 235, 236; 242, 243, 244, 245, 251, 252, 253, 254; and to remedy that wrongdoing
prospectively, the complaint seeks a declaration of the wrongdoing’s illegality and an injunction
against its continuation, Dkt. 117 ¶¶ 331, 333 334, 335; see also id. (retrospective damages claim
for illegal proscriptions). The State Department correctly recognizes this aspect of the APA and
constitutional claims. See Dkt. 162 at 1. But there is much more at issue as well.

In addition to regulatory change, the Plaintiffs’ APA and constitutional claims seek changes in the
State Department’s licensing practices. Apart from the fight about what regulations should say,
the Plaintiffs’ APA and constitutional claims say that the State Department’s failure to
affirmatively license Plaintiffs’ speech violates both the APA, Dkt. 117 ¶¶ 186, 187, 191, 194,
195, 199, 202, 203, 207, 210, 211, 215, and the Constitution, Dkt. 117 ¶¶ 218, 219, 223, 231, 232,
236, 240, 241, 245, 248, 249, 250, 254; and to remedy that wrongdoing, the complaint seeks a
declaration of the wrongdoing’s illegality and an injunction against its continuation, Dkt. 117 ¶¶
330, 332, 335; see also id. (retrospective damages claim for the refusal to license).

                                            10
         Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 13 of 23




license. Even under the 2020 rules, the State Department has the power to remedy its wrongdoing

by a proper exercise of its continuing authority over licenses. Plaintiffs’ request for a judgment

making it exercise that power is therefore not moot.

II.     Res judicata does not bar any claims.

        The motion argues that “Plaintiffs’ non-contract claims are . . . barred by res judicata . . .

because they could have been—and in fact were—raised by Plaintiffs in their prior lawsuit,”

referring to Defense Distributed I, No. 1:15-CV-372 in this Court. Dkt. 162 at 1, 14-17. The Court

should reject this for at least three reasons.

        A.      Res judicata assertions never belong in Rule 12 motions.

        First, the motion is procedurally defective. The Fifth Circuit has held that “a true res

judicata argument (claim preclusion) is an affirmative defense that should not be the basis for a

12(b)(6) dismissal.” Snow Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 521 n.8 (5th Cir.

2016). Nor does res judicata deny the Court subject matter jurisdiction as would support a 12(b)(1)

motion to dismiss. Smalls v. United States, 471 F.3d 186, 189 (D.C. Cir. 2006) (“[T]he defense of

res judicata, or claim preclusion, while having a somewhat jurisdictional character does not affect

the subject matter jurisdiction of the district court.”) (citation omitted). None of the other Rule 12

bases to support a motion to dismiss authorize a res judicata defense at the stage, making the

assertion of this defense procedurally improper. See Fed. R. Civ. P. 12(b). The Court can reject

the State Department’s claim preclusion arguments on this basis alone.

        B.      The prior case did not render a final judgment on the merits.

        Second, the State Department cannot conclusively establish the third element of its

affirmative defense, which requires a “prior judgment [that] was final and on the merits.” Ayissi

v. Kroger Tex., L.P., 849 Fed. App’x 489, 490 (5th Cir. 2021) (emphasis added). Indeed, claim




                                                 11
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 14 of 23




preclusion’s need for a final judgment on the merits is black-letter law. See Charles A. Wright &

Arthur R. Miller, Federal Practice & Procedure § 4406 (West 2021). All courts require a judgment

that is final as opposed to interlocutory, see, e.g., Avondale Shipyards, Inc. v. Insured Lloyd’s, 786

F.2d 1265, 1272–73 (5th Cir. 1986); Hacienda Records, L.P. v. Ramos, 718 F. App’x 223, 230

(5th Cir. 2018); Winters v. Diamond Shamrock Chem. Co., 149 F.3d 387, 395–96 (5th Cir. 1998);

and all courts require that the judgment be on the merits and not some other ground, see, e.g.,

Vasquez v. Bridgestone/Firestone, Inc., 325 F.3d 665, 676 (5th Cir. 2003); Miller v. Nationwide

Life Ins. Co., No. 06-31178, 2008 WL 3086783, at *5 (5th Cir. Aug. 6, 2008); Foster v. City of El

Paso, 308 Fed. Appx. 811, 812 (5th Cir. 2009).

       Here, however, there is no final judgment whatsoever and certainly none on the merits.

The complaint in Defense Distributed I was dismissed without any adjudication. It produced no

judgment at all, let alone one on the merits. The Fifth Circuit expressly held this—that Defense

Distributed I produced no judgment at all—in a decision the State Department itself procured:

       [T]here is no “judgment” when the parties voluntarily dismiss the entire case under
       Rule 41(a)(1)(A)(ii). Under Rule 41(a)(1)(A), a stipulation of dismissal operates
       to dismiss the action “without a court order.” Fed. R. Civ. P. 41(a)(1)(A). And “[a]
       stipulation of dismissal under that rule ordinarily—and automatically—strips the
       district court of subject-matter jurisdiction” over the dismissed action. So the
       district court here had no jurisdiction to enter final judgment in this case.

Def. Distributed v. United States Dep’t of State, 947 F.3d 870, 873 (5th Cir. 2020) (quoting Nat’l

City Golf Fin. v. Scott, 899 F.3d 412, 415–16 (5th Cir. 2018)) (paragraph break omitted).

       The fact that the dismissal was “with prejudice” is irrelevant. The Fifth Circuit has rejected

the argument that the inclusion of “with prejudice” language in a stipulated dismissal

“categorically triggers a res judicata bar”:

       Nationwide argues that regardless of the grounds upon which Miller's prior claim
       was dismissed, the dismissal of Miller's suit “with prejudice” suffices to trigger a
       res judicata bar to the claim. Essentially, Nationwide urges that we hold that any
       “with prejudice” comment associated with a dismissal categorically triggers a res


                                               12
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 15 of 23




       judicata bar. However, our precedent does not demonstrate such an unwavering
       categorical approach, and we decline to adopt one here.

Miller v. Nationwide Life Ins. Co., No. 06-31178, 2008 WL 3086783, at *5 (5th Cir. Aug. 6, 2008).

       Here, because the parties stipulated to a dismissal before the Court ever entered a final

judgment, the Court “had no jurisdiction to enter final judgment in this case.” Def. Distributed v.

United States Dep’t of State, 947 F.3d at 873. As such, the “with prejudice” language in the

Settlement Agreement and the Plaintiffs’ notice of dismissal cannot make up for the State

Department’s failure to establish a “prior judgment [that] was final and on the merits.” Ayissi, 849

Fed. App’x at 490.

       C.      The requisite claim identity is missing.

       Finally, the State Department has not proven that “the plaintiff[s] raise[d] the same cause

of action in both suits.” Id. In determining whether a defendant has satisfied this element, courts

apply “a ‘transactional test,’ focusing on whether the cases are based on the same nucleus of

operative facts.” Retractable Techs., Inc. v. Becton Dickinson & Co., 842 F.3d 883, 899 (5th Cir.

2016) (Jones, J.). This, in turn, requires them to “consider whether the facts are related in time,

space, origin, or motivation, whether they form a convenient trial unit, and whether their treatment

as a unit conforms to the parties’ expectations or business understanding or usage.”             Id.

Importantly, the Fifth Circuit has “held that ‘subsequent wrongs’ by a defendant” that occur after

settlement of one lawsuit “constitute new causes of action” that support a second. Id. (quoting

Davis v. Dallas Area Rapid Transit, 383 F.3d 309, 314 (5th Cir. 2004)).

       Two cases illustrate the logic behind this principle. In Oreck Direct, LLC v. Dyson, Inc.,

560 F.3d 398 (5th Cir. 2009), a vacuum cleaner manufacturer sued its competitor under the

Lanham Act, alleging that the competitor’s representations that its “DC18” model vacuum cleaner

exhibited “no loss of suction” and was the “most powerful lightweight” model on the market. Id.



                                            13
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 16 of 23




at 400. In a prior lawsuit, however, the manufacturer had alleged that the competitor “falsely

advertised that its vacuum cleaners do not lose suction” without limiting “its claims to

representations about specific . . . vacuum cleaner models or to specific modes of advertising or

promotion.” Id. The parties settled the first lawsuit and filed a joint motion to dismiss, which the

district court granted. Id. The Fifth Circuit affirmed summary judgment in the second lawsuit

against the manufacturer. Id. at 402–03. The Court reasoned that the competitor “was advertising

the DC18 to retailers during the pendency of [the first lawsuit] and using the . . . representations

[the manufacturer] then alleged to be false.” Id. at 403. In fact, the competitor “produced

information concerning the DC18 (then labeled as the “N70”) during discovery.” Id. “Because

[the competitor’s] claims concerning the DC18 could have been advanced in support of the causes

of action [in the first lawsuit],” the court concluded the claims in the second lawsuit were the same,

satisfying the final element of claim preclusion. Id.

        In Retractable Technologies, by contrast, the court held that res judicata did not preclude

a second lawsuit because “[t]he advertisements [the plaintiff] complain[ed] of in its second lawsuit

were made after the 2004 settlement of the first lawsuit.” 842 F.3d at 899. As such, the plaintiff

“could not have brought these claims during the pendency of the first lawsuit, and the new post-

2004 advertisements and sales tactics of [the defendant] created new causes of action that [were]

not barred by res judicata.” Id. As these cases demonstrate, the purpose of the “same cause of

action” element is to ensure that the plaintiff brings all the claims it could have brought in the first

lawsuit in that lawsuit.

        This case is indistinguishable from Retractable Technologies. Most obviously, this case

involves the State Department’s censorship of files that Defense Distributed did not attempt to

publish until after its settlement with the State Department. Compare Dkt. 117 ¶ 53 (describing




                                              14
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 17 of 23




files at issue in Defense Distributed I, which were published from December 2012 to March 2013);

id. ¶ 89 (settlement executed on June 29, 2018), and id. ¶ 55 (noting publication of Defense

Distributed I files following settlement) with id. ¶¶ 58–67 (describing entirely new files published

under restrictions designed to ensure compliance with State Department regulations from August

2018 to November 2018 and from March 2020 to the present) and id. ¶ 69 (indicating that the files

Defense Distributed published across these periods differed).             Thus, like in Retractable

Technologies, Plaintiffs “could not have brought the[] claims” based on these new publications

“during the pendency of the first lawsuit, and the new [censorship by the State Department] created

new causes of action that are not barred by res judicata.” 842 F.3d at 899.

        In addition, Plaintiffs’ remaining claims do not simply recycle their causes of action from

Defense Distributed I. Rather, they are based on actions the State Department took after Defense

Distributed I settled, including its

            •   disavowal of the license it had issued to Plaintiffs in July 2018;

            •   refusal to issue the letter advising Plaintiffs that the Defense Distributed I Published
                Files, Ghost Gunner Files, and CAD Files were approved for public release;

            •   refusal to modify the USML regulations to exclude the technical data that was the
                subject of Defense Distributed I; and

            •   disavowal of the temporary modification it had issued to exclude that data from
                USML regulations and ensure that all U.S. persons could access, discuss, use,
                reproduce, or otherwise benefit from that data.

Dkt. 117 ¶¶ 110-31; see also, e.g., id. ¶¶ 185-91, 193-99, 201-207, 209-215 (APA claims based on

this post-Settlement conduct); id. ¶¶ 231-36 (same for First Amendment claims); id. ¶¶ 240-45

(same for Second Amendment claims); id. ¶¶ 249-53 (same for Due Process claims).




                                              15
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 18 of 23




       Again, because the State Department had not taken any of these actions while Defense

Distributed I was pending, Plaintiffs “could not have brought [them] during the pendency of the

first lawsuit.” Retractable Tech., 842 F.3d at 899. Accordingly, the State Department’s post-

Settlement actions “created new causes of action that are not barred by res judicata.” Id.

       The State Department attempts to circumvent this rule by citing a non-binding Eighth

Circuit case for the proposition that “positing a few additional facts that occurred after the initial

suit” cannot overcome a res judicata defense. Mot. at 16 (quoting Misischia v. St. John’s Mercy

Health Sys., 457 F.3d 800, 805 (8th Cir. 2006)). But this rule flies in the face of Retractable

Technologies, a binding Fifth Circuit case that obviously controls over Misischia. In any case, the

plaintiff in Misischia was not asserting new “independent RICO claims”—he was attempting to

use “alleged predicate acts occurring after the state court judgment . . . to revive RICO claims”

that he had filed in state court. 457 F.3d at 805; see also id. at 803-04. This is very different from

the situation here, where all Plaintiffs’ claims are independently based on courses of conduct that

occurred after the settlement.

III.   The Settlement Agreement did not release later-arising claims about trampling the
       Settlement Agreement, Constitution, and APA.

       The motion argues that “Plaintiffs’ non-contract claims are . . . subject to dismissal because

they are barred by . . . the broad release contained in the Settlement Agreement.” Dkt. 162 at 1,

17-18. The Court should reject this for two reasons.

       First, like res judicata, any argument that a plaintiff has released claims against a defendant

is an affirmative defense, which makes it procedurally improper on a motion to dismiss. See

Deckard v. Gen. Motors Corp., 307 F.3d 556, 560 (7th Cir. 2002) (“A motion to dismiss was

improper since release is an affirmative defense, Fed. R. Civ. P. 8(c), and the existence of a defense

does not undercut the adequacy of the claim.”). This is particularly important in the release context



                                             16
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 19 of 23




because, as the State Department acknowledges, the validity of a release turns on a number of

different factors that require factual development during the course of discovery. See Clayton v.

ConocoPhillips Co., 722 F.3d 279, 292 (5th Cir. 2013). Specifically, a plaintiff can overcome a

release defense by showing, as a factual matter, that it never “received adequate consideration” or

that the “the release was invalid because of fraud, duress, material mistake, or some other defense.”

Id. Release is also subject to estoppel, which the State Department’s flip-flopping in action after

action has triggered. All of these issues require evidence, which requires discovery. The State

Department’s attempt to obtain a Rule 12(b) dismissal based on its release defense, therefore, is

just as procedurally improper as its re judicata argument.

       Second, the release argument is wrong because the Settlement Agreement’s release

provision clearly does not cover the claims at issue. The Settlement Agreement’s release provision

applies only to preexisting claims—those that “were or could have been raised” in that case. Dkt.

155 at 23. But as explained above, all of the claims at issue here are new. They were not released

by the Settlement Agreement because they arise from the Settlement Agreement and actions the

State Department took following that agreement. Absent express language to the contrary (the

Settlement Agreement has none), a contract that predates claims does not release them. See, e.g.,

Redel’s Inc. v. Gen. Elec. Co., 498 F.2d 95, 98 (5th Cir. 1974) (“[A]s a matter of law, the general

release in the case sub judice is ineffective to bar claims arising subsequent to . . . the date of its

execution.”); TechnoMarine SA v. Giftports, Inc., 758 F.3d 493, 504 (2d Cir. 2014) (“A settlement,

just like a judgment, does not ordinarily bar claims that have not yet accrued. . . . [unless the

parties] agree to extinguish future claims.”).




                                              17
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 20 of 23




IV.    Nothing belongs at the Court of Federal Claims.

       The motion invokes the Tucker Act’s rule of exclusive jurisdiction in the Court of Federal

Claims to a very limited extent. There is no Tucker Act argument to be made about any of the

Plaintiffs’ claims for prospective or declaratory relief, since well-established precedent shows why

the Tucker Act does not reach them. See, e.g., Columbus Reg'l Hosp. v. Fed. Emergency Mgmt.

Agency, 708 F.3d 893, 897 (7th Cir. 2013); Normandy Apartments, Ltd. v. U.S. Dept. of Hous. &

Urban Dev., 554 F.3d 1290, 1300 (10th Cir. 2009).12 The motion just says that, because of the

Tucker Act, the Court of Federal Claims has exclusive jurisdiction over (1) the breach-of-contract

action’s claim for retrospective damages, and (2) the non-contract actions’ claims for retrospective

damages. Dkt. 162 at 2. The Court should reject this for several distinct reasons.

       A.      The Tucker Act does not apply.

       Whether or not the Tucker Act applies depends, in part, on whether the action is a creature

of federal law as opposed to state law. Apart from the rules for federal contract actions, the Tucker

Act does not apply and does not divest federal district courts of jurisdiction where, as here, the

breach-of-contract action sounds in state law and meets the traditional test for supplemental



12
  Though the motion is best read as challenging only the contract action’s claims for retrospective
damages, any argument State Department might make about the Tucker Act barring a contract
action for prospective relief is squarely defeated by The State Department’s Tucker Act and APA
arguments are squarely defeated by Normandy Apartments, 554 F.3d at 1300. Where, as here, “a
party asserts that the government's breach of contract is contrary to federal regulations, statutes, or
the Constitution, and when the party seeks relief other than money damages, the APA's waiver of
sovereign immunity applies and the Tucker Act does not preclude a federal district court from
taking jurisdiction.” Id. at 1300; see also Columbus Reg'l Hosp., 708 F.3d at 897 (“To the extent
that [a] constitutional theory demands money as a remedy, it belongs in the Court of Federal
Claims. To the extent that it seeks prospective relief, such as another hearing, it is within the scope
of § 702.”). Regardless of whether claims for money damages might belong elsewhere, Normandy
Apartments makes clear that Defense Distributed and SAF’s contract, APA, and Due Process
claims for non-damages relief (such as the instant injunction) are fully within this Court’s
jurisdiction.



                                              18
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 21 of 23




jurisdiction. See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966); Pershing Div.

of Donaldson, Lufkin & Jenrette Sec. Corp. v. United States, 22 F.3d 741, 743 (7th Cir. 1994)

(“The government counters that . . . Gibbs set the standard for determining when a federal court

has pendent (now supplemental) jurisdiction over related state law claims . . . .”).

       What law governs this contract action is not yet known. The complaint pleads the action

without specifying choice of law, Dkt. 177 ¶¶ 216-224, and it is improper for a Rule 12

jurisdictional analysis to jump ahead and make that fact-laden decision, see McManaway v. KBR,

Inc., No. 12-20763, 2013 WL 8359992, at *1 (5th Cir. Nov. 7, 2013). So under one very plausible

version of the facts, Texas law applies and the Tucker Act does not. The Court should hold that

the Tucker Act poses no jurisdictional problem for the Plaintiffs’ breach-of-contract claim for

retrospective damages, and this aspect of the motion should be denied.13

       B.      The State Department waived and/or is estopped from asserting the Tucker
               Act and sovereign immunity.

       To the extent that sovereign immunity might generally bar the damages claims at issue, it

does not apply here because the State Department “waived any and all grounds of opposition to

court enforcement of the Settlement Agreement,” including sovereign immunity. Dkt. 177 ¶ 224.

It did so in Settlement Agreement paragraph 4, which shows the State Department’s consent to

“any civil, criminal, or administrative action . . . permitted by law, if any, that may be necessary

to consummate or enforce this Settlement Agreement.” Id. The State Department’s denial of this




13
   Alternatively—if and only if the Court decides that the Tucker Act divests the Court of
jurisdiction over the case’s retrospective damages claims—Plaintiffs request leave to amending
the complaint’s damage request to fall under the Little Tucker Act’s $10,000 threshold. See Ware
v. United States, 626 F.2d 1278, 1287 (5th Cir. 1980) (“Federal district courts are granted
concurrent jurisdiction with the Court of Claims only over suits for $10,000 or less.”).

                                             19
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 22 of 23




construction, Dkt. 162 at 20, is not a matter of law answer; it is a matter-of-fact defense about

contract construction to be litigated on summary judgment after discovery.

       Similarly, the State Department cannot assert sovereign immunity because it is estopped

from doing so by its conduct of the Washington I litigation. If correct, the State Department’s

current jurisdictional argument would establish that jurisdiction was lacking in Washington I

because that case implicated the Settlement Agreement just as much as this one. See Washington

v. United States Dep't of State, No. C18-1115RSL, 2018 WL 5921011, at *2 (W.D. Wash. Nov.

13, 2018) (“the Court’s findings will bind all of the interested parties and preclude collateral

challenges to the APA determination (such as an action for specific performance of the settlement

agreement)”).   Yet the State Department had the district court there exercise jurisdiction,

Washington v. United States Dep't of State, 420 F. Supp. 3d 1130, 1141 (W.D. Wash. 2019), and

now is trying to use the decision to its advantage (by, among other things, embracing the judgment

vacating Plaintiffs’ license). The Tucker Act and sovereign immunity cannot be had both ways,

and the State Department made its choice. Unless and until the State Department concedes that

the Tucker Act and/or sovereign immunity deprived Washington I of jurisdiction, it cannot succeed

on the same theory here. See New Hampshire v. Maine, 532 U.S. 742, 742–43 (2001).

       Even if these arguments are not completely decisive now, they turn on questions of fact

that require evidentiary development. Dismissal before any factual inquiry regarding the extent of

the State Department’s waiver and estoppel would be premature. See infra Parts II.A & III.

                                        CONCLUSION

       The motion should be denied.




                                           20
        Case 1:18-cv-00637-RP Document 168 Filed 07/12/21 Page 23 of 23




July 12, 2021                                         Respectfully submitted,

                                                      BECK REDDEN LLP
                                                      By /s/ Chad Flores
                                                      Chad Flores
                                                      cflores@beckredden.com
                                                      Texas Bar No. 24059759
                                                      Daniel Nightingale
                                                      dhammond@beckredden.com
                                                      Texas Bar No. 24098886
                                                      Hannah Roblyer
                                                      hroblyer@beckredden.com
                                                      Texas Bar No. 24106356
                                                      1221 McKinney Street, Suite 4500
                                                      Houston, TX 77010
                                                      (713) 951-3700 | (713) 952-3720 (fax)

                                                      CLARK HILL PLC
                                                      Matthew A Goldstein
                                                      mgoldstein@clarkhill.com
                                                      D.C. Bar No. 975000
                                                      1001 Pennsylvania Avenue Northwest
                                                      Suite 1300 South
                                                      Washington, DC 20004
                                                      (202) 550-0040 | 202-552-2371 (fax)

                                                      Josh Blackman
                                                      joshblackman@gmail.com
                                                      Texas Bar No. 24118169
                                                      1303 San Jacinto Street
                                                      Houston, TX 77002
                                                      (202) 294-9003 | (713) 646-1766 (fax)

                                                      Attorneys for Plaintiffs Defense Distributed
                                                      and Second Amendment Foundation, Inc.



                                 CERTIFICATE OF SERVICE

       I certify that a copy of this filing was served on all parties and/or their counsel of record
through a manner authorized by Federal Rule of Civil Procedure 5(b) on July 12, 2021.


                                                      /s/ Chad Flores
                                                      Chad Flores



                                             21
